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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

In re:                                              Chapter 11

RITCHIE RISK-LINKED STRATEGIES,
L.L.C.,
                                                    Case No. 18-11555 (KJC)


                       Debtor.

DECLARATION OF STEVEN L. CAPONI IN SUPPORT OF HUIZENGA MANAGERS
FUND, LLC’S OBJECTION TO DEBTOR’S APPLICATION FOR AN ENTRY OF AN
      ORDER AUTHORIZING THE EMPLOYMENT AND RETENTION OF
              REED SMITH LLP AS BANKRUPTCY COUNSEL

         I, Steven L. Caponi do hereby state as follows:

         1.      I am an attorney with the law firm of K&L Gates LLP, and I represent the

Huizenga Managers Fund, LLC, in the above-captioned action. I am admitted to practice before

and am in good standing with the Bar of the Supreme Court of the State of Delaware.

         2.      I am over 21 years of age and fully competent to make this Declaration.

         3.      I submit this Declaration in support of Huizenga Managers Fund, LLC’s

Objection to Debtor’s Application for an Entry of an Order Authorizing the Employment and

Retention of Reed Smith LLP as Bankruptcy Counsel.

         4.      Attached to this Declaration are true and correct copies of the following

documents:

Exhibit         Date                       Document               Beginning            Ending
 No.                                                                Page                Page
  1           11/1/2005    Third Amended and Restated Limited       B-001              B-085
                           Liability Company Operating Agreement,
                           Ritchie Risk-Linked Strategies, L.L.C.

    2         10/28/2015 Wire Transfer Record.                             B-086           B-086

    3         11/12/2015 Wire Transfer Record.                             B-087           B-087
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